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December 22, 2023

Dear Judge Cooper,
Thank you in advance for taking the time to read this letter.

My name is Christine Coffineau, and my husband, Matthew Wagner and |
are well acquainted with JD Rahm. He is a family friend through my niece and has
attended many family functions in our home. We are always delighted to
welcome him and his family to our gatherings, celebrations, special occasions and
holiday dinners.

Matthew and | are very involved in our parish of Saint Elizabeth Ann Seton in
Absecon, New Jersey. We are Eucharistic Ministers and Lectors, and we believe
that we have a good sense for good people. People who are honest, trustworthy,
law-abiding, devoted to family and kind. That describes JD Rahm.

We have been praying for him since his unfortunate ordeal began, because
he is a mature, hard-working young man with a bright future, and we will
continue to pray that he will be able to remain on this path unobstructed.

Sincerely, f y fo.

GC f

